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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

 DARRYL KEVIN STRAITZ,
                    Plaintiff,

 v.                                                           Case No. 6:09-cv-403-Orl-18GJK

 OFFICER #1 U.S. PRISONER
 TRANSPORT,
 OFFICER #2 U.S. PRISONER
 TRANSPORT,
                         Defendants.
 ______________________________________

                                   RELATED CASE ORDER
                                  AND TRACK ONE NOTICE

        It is hereby ORDERED that, no later than eleven days from the date of this Order,

 counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve a

 certification as to whether the instant action should be designated as a similar or successive case

 pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the attached form NOTICE OF

 PENDENCY OF OTHER ACTIONS. It is

        FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

 designated a Track One case. All parties must comply with the requirements established in

 Local Rule 3.05 for Track One cases.

 March 3, 2009
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       ANNE C. CONWAY                                     JOHN ANTOON II
       Anne C. Conway [22]                                John Antoon II [28]
   Chief United States District Judge                 United States District Judge

      GREGORY A. PRESNELL                                  MARY S. SCRIVEN
       Gregory A. Presnell [31]                            Mary S. Scriven [35]
      United States District Judge                        United States District Judge

      GEORGE C. YOUNG                                        G. KENDALL SHARP
        George C. Young [06]                                G. Kendall Sharp[18]
 Senior United States District Judge                      Senior United States District Judge

      PATRICA C. FAWSETT
        Patricia C. Fawsett [19]
    Senior United States District Judge

         DAVID A. BAKER                                   KARLA R. SPAULDING
         David A. Baker [DAB]                             Karla R. Spaulding [KRS]
     United States Magistrate Judge                       United States Magistrate Judge

       GREGORY J. KELLY
        Gregory J. Kelly [GJK]
      United States Magistrate Judge

 Attachment:    Notice of Pendency of Other Actions [mandatory form]

 Copies to:

 Darryl Kevin Straitz No. 438486
 535 Appleyard Drive
 Tallahassee, FL 32304




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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

DARRYL KEVIN STRAITZ,
                   Plaintiff,

v.                                                              Case No. 6:09-cv-403-Orl-18GJK

OFFICER #1 U.S. PRISONER TRANSPORT,
OFFICER #2 U.S. PRISONER TRANSPORT,
                        Defendants.
______________________________________


                        NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____ IS                related to pending or closed civil or criminal case(s) previously filed in this
                        Court, or any other Federal or State court, or administrative agency as
                        indicated below:
                        _______________________________________________________
                        _______________________________________________________
                        _______________________________________________________
                        _______________________________________________________

_____ IS NOT            related to any pending or closed civil or criminal case filed with this Court,
                        or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER ACTIONS
upon each party no later than eleven days after appearance of the party.


Dated:



_____________________________
Darryl Kevin Straitz No. 438486
535 Appleyard Drive
Tallahassee, FL 32304
